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FORM TO BE USED BY A PRISONER FILING A
42 U.S.C. § 1983 CIVIL RIGHTS COMPLAINT

FOR THE [EASTERN] DISTRICT OF PENNSYLVANIA

Donee Wan e Baker L CAPTION
(Enier the full name of the aintiff or plaintiffs) 0 ® Vv _ S33

Dann Easter

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(Enter the full name o the defendant or defendants)

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I. PARTIES

a. Plaintiff

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Prison Identification number: yYVWS g AS

 
    

Place of present confinement:
Address:

Place of confinement at time of incidents or conditions alleged in
complaint, including address:

    
  
 

Additional plaintiffs: Provide the same information for ant additional plaintiffs
plaintiffs on the reverse of this page or on a separate sheet of paper.

b. Defendants: (list only those defendants named in the caption of the
complaint, section 1)

  
  
    
  

1. Full name including title:

_ Full name including title:

Place of employment and section or unil: ey

Additional defendants: Provide the same information jor any additional
defendants on the reverse of this page orona separate sheet of paper.

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HI. PREVIOUS LAWSUITS

Instructions:

If you have filed other lawsuits in any federal or state court dealing with the same facts as this
complaint or other facts related to your imprisonment, you must provide the information
requested below. If you have not filed other lawsuits, proceed to Section IV, Administrative
remedies, on this page.

Ifyou have filed other lawsuits, provide the following information.
Parties to your previous lawsuits:

Plaintiffs

 

Defendants

 

Issues:

 

 

Court: if federal, which district?

 

[f state, which county?

 

Docket number: Date filed:

 

 

Name of presiding judge:

 

Disposition: (check correct answer(s) ); Date:

 

 

 

 

 

Dismissed Reason?
Judgment In whose favor?
Pending Current Status?
Other Explain
Appeal filed? ss Current Status?

 

Additional lawsuits. Provide the same information concerning any other lawsuits you have
filed concerning the same facts as this action or other facts related to your imprisonment.
You may use the back of this page or a separate sheet of paper for this purpose.

IV. ADMINISTRATIVE REMEDIES

Instructions:

Provide the information requested below if there is an administrative procedure to resolve the
issues you raise in this complaint. Examples of administrative procedures include review of
grievances, disciplinary action, and custody issues. If no administrative procedures apply to
the issues in this complaint, proceed to Section V, Statement of Claim, on page 4.

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a. Describe the administrative procedures available to resolve the issues raised
in the complaint.

Type of procedure. (Grievance, disciplinary review, etc.)
LOTR. MamecousS amievonces »Spoke waian PLsOnsko&& conskart hg .
Authority for procedure. (DC-ADM, inmate handbook, etc.)
Comey
Formal or informal procedure. bo An. _
Who conducts the initial review? Sch: G Amour Det, \Dacders Quis leg

 

 

 

 

 

 

 

 

 

What additional review and appeals are available? _WOnWe Due O_ DAS bow
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b. Describe the administrative procedures you followed to resolve the issues raised in this
complaint before filing this complaint:
On what date did you request initial review? _Decembe <_.Fey BQO iQ

What action did you ask prison authorities to take? “casted -Noem review wack
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What response did you receive to your request? (\OVVE..- When d= Avs Srecak ta.

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What further review did you seek and on what dates did you file the requests? b ecem by BY
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What responses did you receive to your requests for further review?
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c. If you did not follow each step of the administrative procedures available to resolve the issues
raised in this complaint explain why.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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V. STATEMENT OF CLAIM

Instructions:

State here as briefly as possible the facts of your case. Use plain language and do not make legal
arguments or cite cases or statutes. State how each defendant violated your constitutional rights.
Although you may refer to any person, make claims only against the defendants listed in the
Caption, Section I. Make only claims which are factually related. Each claim should be
numbered and set forth in a separate paragraph with an explanation of how the defendants were
involved. Use the reverse of this page or a separate sheet of paper if you need more space.

Statement of claim:

 

 

 

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VI. RELIEF

Instructions: Briefly state exactly what you want the court to do for you.

Relief sought:
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VII. DECLARATION AND SIGNATURE

I (we) declare under penalty of perjury that the foregoing is true and correct.

io In la6 |Ls008 — Deng Mar aban

‘DATE SIGNATURE OF PLAINTIFF (S)

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